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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: March 18, 2024.

                                                                           __________________________________
                                                                                   SHAD M. ROBINSON
                                                                           UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
       In re:                           §
                                        §    Case No. 23-10164-smr
       ASTRALABS, INC.,                 §
                                        §    Chapter 7
              Debtor.                   §

                      ORDER GRANTING TRUSTEE’S OMNIBUS
               MOTION FOR AUTHORITY TO ENTER INTO AND PERFORM
           MISCELLANEOUS COMPROMISES WITH CERTAIN WARRANT ISSUERS

             CAME ON FOR CONSIDERATION the Motion for Authority to Enter Into and Perform

   Miscellaneous Compromises With Certain Warrant Issuers (the “Motion”) 1 filed by Randolph N.

   Osherow, not individually but in his capacity as the duly appointed chapter 7 trustee (in such

   capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”) and its bankruptcy

   estate (“Estate”) established under the above-captioned chapter 7 case (“Bankruptcy Case”),

   whereby the Trustee seeks the Court’s authority to enter into and perform certain “miscellaneous”

   compromises proposed with certain Issuers of warrants held, or purportedly held, by the Debtor’s

   Estate.


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         Capitalized terms used but not defined herein shall have the means ascribed to them in the Motion.



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           Having considered the Motion, the Court finds that: (i) it has jurisdiction over the matters

   raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding pursuant

   to 28 U.S.C. § 157(b); (iii) proper and adequate notice of the Motion and an opportunity for a

   hearing on the Motion has been given and no other or further notice is necessary; (iv) no objections

   to the Motion have been asserted and the opportunity to timely assert any such objections has

   expired; and (v) good and sufficient cause exists for the approving the relief requested in the

   Motion. It is therefore:

           ORDERED that the Motion is GRANTED in all respects; it is further

           ORDERED that each of the following Warrants issued to the Debtor is hereby deemed

   canceled, terminated, and void ab initio, without any exercise, and for all purposes:

   (i) CollectiveCrunch Oy’s Warrant issued to the Debtor, dated as of January 23, 2023; (ii) The

   Wholesome Bowl Pty Ltd.’s Warrant issued to the Debtor, dated as of March 28, 2022;

   (iii) WeConcile, Inc.’s Warrant issued to the Debtor, dated as of August 24, 2022; and

   (iv) Retentacle, Inc.’s Warrant issued to the Debtor, dated as of January 31, 2023; it is further

           ORDERED that, by no later than the first date that is twenty (20) days following the date

   of entry of this Order: (i) CollectiveCrunch Oy shall pay the Trustee, by check or wire transfer,

   the amount of $5,000.00 in immediately available funds; (ii) The Wholesome Bowl Pty Ltd. shall

   pay the Trustee, by check or wire transfer, the amount of $1,000.00 in immediately available funds;

   it is further,

           ORDERED that for the consideration encompassed herein and in the Motion, effective

   upon the entry of this Order and except for those obligations created by or arising out of this Order,

   each of CollectiveCrunch Oy; The Wholesome Bowl Pty Ltd.; WeConcile, Inc.; and Retentacle,

   Inc.; individually and on behalf of its respective predecessors in interest, successors, affiliated




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   companies, estates, directors, officers, employees, agents, heirs, executors, representatives,

   insurers, attorneys, and assigns (collectively, the “Releasing Non-Debtor Parties”), hereby release,

   acquit, and forever discharge the Debtor, the Trustee, the Debtor’s bankruptcy Estate arising under

   11 U.S.C. § 541(a), and their respective predecessors in interest, successors, employees, agents,

   representatives, insurers, attorneys, and assigns (collectively, the “Released Estate Parties”) from

   any and all actions, suits, debts, covenants, contracts, controversies, agreements, promises, duties,

   obligations, claims, issues, demands, damages, injuries, losses, liabilities, expenses, attorneys’

   fees, and causes of action of any kind, whether arising in contract, in tort, by statute, at law, in

   equity, or otherwise, and whether fixed or contingent, liquidated or unliquidated, known or

   unknown, concealed or revealed, discovered or undiscovered, actual or potential, direct or indirect,

   material or immaterial, disputed or undisputed, arising out of, related to, based upon, by reason of,

   or in any way involving any act, matter, transaction, occurrence, or event before the date of entry

   of this Order, including but not limited to Proof of Claim No. 390-1 filed by The Wholesome Bowl

   Pty Ltd., Proof of Claim No. 70-1 filed by WeConcile, Inc., Proof of Claim No. 251-1 filed by

   Retentacle, Inc., any and all proofs of claim scheduled, filed, or asserted in the Bankruptcy Case,

   and any and all claims and causes of action that could have been asserted in the Bankruptcy Case,

   or that in any way relate to the Debtor, the Estate, or the Bankruptcy Case; it is further

          ORDERED that for the consideration encompassed herein and in the Motion, effective

   upon the entry of this Order and except for those obligations created by or arising out of this Order,

   Randolph Osherow, as Chapter 7 Trustee, and on behalf of each of the Released Estate Parties,

   hereby releases, acquits, and forever discharges each of the Releasing Non-Debtor Parties, from

   any and all actions, suits, debts, covenants, contracts, controversies, agreements, promises, duties,

   obligations, claims, issues, demands, damages, injuries, losses, liabilities, expenses, attorneys’




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   fees, and causes of action of any kind, whether arising in contract, in tort, by statute, at law, in

   equity, or otherwise, and whether fixed or contingent, liquidated or unliquidated, known or

   unknown, concealed or revealed, discovered or undiscovered, actual or potential, direct or indirect,

   material or immaterial, disputed or undisputed, arising out of, related to, based upon, by reason of,

   or in any way involving any act, matter, transaction, occurrence, or event before the date of entry

   of this Order, including but not limited to any and all claims and causes of action that could have

   been asserted in the Bankruptcy Case, or that in any way relate to the Debtor, the Estate, or the

   Bankruptcy Case; it is further

           ORDERED that for the consideration encompassed herein and in the Motion, from and

   after the entry of this Order: (i) each of the Trustee, the Debtor, WeConcile, Inc., and WeConcile,

   Inc.’s principal Ms. Jennifer Lehr shall keep confidential all non-public matters of the Debtor’s

   prior dealings with WeConcile, Inc. and disclose any such matters only as provided by legal

   process; (ii) neither the Trustee nor the Debtor shall make any disparaging remarks about

   WeConcile, Inc. or WeConcile, Inc.’s principal Ms. Jennifer Lehr, or either of WeConcile, Inc.’s

   or Ms. Lehr’s services, practices, business or conduct; and (iii) neither WeConcile, Inc. nor

   WeConcile, Inc.’s principal Ms. Jennifer Lehr shall make any disparaging remarks about the

   Trustee, Debtor, the Debtor’s services, or either of the Trustee’s or Debtor’s practices, business,

   or conduct; it is further;

           ORDERED that the Trustee is authorized to take all actions necessary to effectuate the

   relief granted in this Order in accordance with the Motion; it is further

           ORDERED that the Court retains exclusive jurisdiction with respect to all matters arising

   from or related to the implementation, interpretation, and enforcement of this Order.

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   Order Respectfully Submitted by:

    /s/ Jay H. Ong
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   Thanhan Nguyen
   Texas Bar No. 24118479
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   Counsel for the Chapter 7 Trustee




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